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 Lon A. Jenkins (4060)
 Tami Gadd (12517)
 MaryAnn Bride (13146)
 Katherine T. Kang (14457)
 OFFICE OF THE CHAPTER 13 TRUSTEE
 405 South Main Street, Suite 600
 Salt Lake City, Utah 84111
 Telephone: (801) 596-2884
 Facsimile: (801) 596-2898
 Email: utahtrusteemail@ch13ut.org



                         UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION

IN RE:                                                CASE: 20-24404
CHRISTOPHER PROCTOR                                   CHAPTER 13


Debtor
                                                      Hon. JOEL T. MARKER

              TRUSTEE'S CONTINUING OBJECTION TO CONFIRMATION


         The Standing Chapter 13 Trustee, hereby objects to confirmation based on the following
unresolved issues:
   Restatement of Issues from Prior Objection(s):

   1. Schedule A/B fails to accurately state the balance on hand as of the petition date in the
financial account with prepaid card account.

   2. The Debtor failed to produce at the 341 Meeting statements from their financial accounts
for the period that covers the petition date (see Fed. R. Bankr. P. 4002(b)(2)(B)). Need
statements for prepaid card accounts.

   3. The Trustee requests the Debtor file an affidavit of no filing requirement for 2019.
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    4. The plan was not served on all parties-in-interest as required by Fed R. Bankr. P. 2002(a)
and 3015(d).

    5. The Trustee requests an update at Confirmation regarding whether the Debtor is paying
rent and updated budget.




            THEREFORE, the Trustee has an ongoing objection to the confirmation.

Dated: September 21, 2020                            LAJ /S/
                                                     LON A. JENKINS
                                                     CHAPTER 13 TRUSTEE


                                   CERTIFICATE OF SERVICE

    The undersigned hereby certifies that a true and correct copy of the foregoing Continuing Objection
to Confirmation was served upon all persons entitled to receive notice in this case via ECF Notification
or by U.S. Mail to the following parties on September 21, 2020:


JUSTIN O. BURTON, ECF Notification
                                                          /s/ Sherrin Warner
